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JS1187
UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

UNITED STATES OF AMERICA, Hon. Joseph H. Rodriguez

PLAINTIFF, Court No. Misc. 98-20

Vv. CERTIFICATE OF DISCHARGE OF

CERTAIN REAL PROPERTY FROM

EDWARD CIACCIO JUDGMENT LIEN HEREIN

DEFENDANT.

WHEREAS, defendant EDWARD CTIACCIO is indebted to the plaintiff United States of
America, ("United States") pursuant lo a judgment entered in United States District Court on
April 7, 1998, in the amount of $33,625.36.

WHEREAS, the lien of the United States for said judgment has attached to the property
of EDWARD CIACCTO.

THIS 18 TO CERTIFY that certain real property described as 819 Richard Road, Cherry
Hill, in the county of Camden, New Jersey, is hereby released for the purpose of the sale of the
property with Wellington Home Mortgage, Inc.; however, the fult force and effect of the licn is
otherwise saved and reserved against and upon this property and all other property or nghis to

property to which the hen is atlached wheresocver situated.
 

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‘ TAKE NOTICE that the Certificate of Discharge is not intended to discharge the

judgment lien against EDWARD CIACCIO nor against any other properly subject thereto.

DATED:

 

By: JOHN G. SILBERMANN, JR.
Assistant U.S. Attorney

STATE OF NEW JERSEY:
88
COUNTY OF ESSEX;

I certify that on December 1, 2005, John G, Silbermann, Jr., acknowledged under oath, to
my satisfaction, that: he is an Assistant United States Attorney for the District of New Jersey, in
ihe within action; the execution, as well as the making of this document by the United States of
America, has been duly authorized; and this document was signed and delivered by the United
States Atlomey for the District of New Jersey through the Assistant U.S. Attorney, as and for the
act of deed of the United States of America.

Swom and subscribed to me
before fhis / SF day of

     
    

 

 

Notary Public of New Jersey
My Commission Expires 09/14/2010,

 

 
